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                                   U.S. Department of |ustice
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                                              Mardr 12, 2019

Aftomey Kelly Welsh
Federal Defender Services of Wisconsin, Inc.
22 East Mifflin Street, Suite 1000
Madison, W[53703

            Re:       Uttited Stntes of Ancrica t. Lnnrontny D. Riuern
                      Case  No: 18-cr-00139-wmc

Dear Attorney Welsh

            This is the proposed plea agreement between the defendant and the United
States      in this   case.


            1. The defendant agrees to plead grilty to Count 1 of the indictment ir this
case. Count 1 charges a violation of Tide 18, United States Code, Section 1951, which
carries maximum penalhes of twenty years in prison, a $250,000 fine, a tfuee-year
period of zupervised release, a $100 special assessment, and an order requiring
restitution. In addition to these maximum penalties, any violation of a supervised
release ternl could lead to an additional term of imprisonment pursuant to 18 U.S.C. S
3583. The defendant agrees to pay the special assessment at or before sentencing. The
defendant understands that the Court wili enter an order pursuant to 18 U.S.C. S 3013
requiring the irnmediate payment of the special assessment. In an appropriate case, the
defendant could be held in contempt of court and receive an additional sentence for
failing to pay the special assessment as ordered by the Court.

             2.
              The defendant acknowledges, by pleading guilty, that he is giving up the
following rights: (a) to plead not guilty and to persist in that plea; (b) to a jury trial; (c)
to be repfesented by counsel-a-nd if necessary have the Court aPPoint counsel-at Uial
and at every other stage of the trial proceedings; (d) to confront and cross-examine
adverse wiEresses; (e) to be protected from compelled seu-incrimination; (f1 to testify
and present evidence; and (g) to compel the attendance of wihresses.

             3.The defendant understands that upon conviction, if he is not a United
states citizen, he may be removed from the United states, denied citizensl-rip, and
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denied fu ture admission to the United States. The defendant nevertheless affirms that
he wants to plead guilty regardless of any removal and immigration consequences that
his plea may entail, even if the consequence is automatic renroval from the Unitcd
States.

   4.         Tlre United States agrees to move to dismiss Cotrnt 2 of &e ildictment at
sentencing, whicl.r charges a violalion of 18 U.S.C. g 924(c). Pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(C), tlie parties agree that an 84 month sentence is the
appropriated disposition ir.r this case. This sentencing recommendation binds dre Court
once the Court accepls the plea agreement. This plea agreement is contingent on the
defendant signing the plea ietter by Ir4a1ch 14,2019, and is structured to provide the
c{efer.rdant an opportunity and incentive to participate in any US BOP recidivism
reduction programs drat are available to him unt-ler the First Step Act.

          5.   The defendant acknowleclges, after corsultation with his attorney, that he
fully understands the extent of his rights to appeal the conviction and sentence in this
case- By his signature below, the defendart knowingly and voluntarih/ waives all
rights, including those conferred by 18 U.S.C. S 3742, to appeal his conviction, including
antf issues w'th respect to the calculatiorr of the advisory sentencing guideline ratlge or
the reasonableness of the sentence imposed.

          6.   The United States agrees that dris guilty plea will completely resolve all
possible federal criminal violations that have occurred in the Westem Diskict of
Wisconsin provided that botlr of the following conditions are met: (a) the criminal
conduct relates to dre conduct described in the ir.rdictr:ren! and (b) dre criminal conduct
was knolvn to d're United States as of the date of this plea agreement This agreen.rent
not to prosecute is limited to dlose types of cases for which tl-re United States Attorneyrs
Office for the Westem District of Wisconsin has exclusive decision-making authority.
The defendant also understands that dre Unitecl States will make its full discovery file
available to the Probation Office for its use in preparing the presentence report.

          7.   The defendant agrees to pay restitution for all iosses relating to the offense
of conviction and all losses covered by the same course of conduct or common scheme
or plan as the offense of conviction. The exact restitution figure rvill be agreed upon by
the parties prior to sentencing or, if the parties are unable to agree upon a specific
figure, restitution will be determined by the Court at sentencing. The defendant further
agrees that the full amount of restitution is due and payable iormediately. Defendalt
aiknorvleclges that immediate payment means payment in good faidr from the
liquic{ation of all non-exempt assets beginning immediately.

          g.   The clefendant agrees to complete the enclosed financial statement ancl
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return it to tl.ris office within one week of the guilty plea l.rearing. The defendant agrees
that this financial statement will be a full and kutlrful accounting, including all
available supportilg documentation. The defendant also authorizes the U.S. Aftomey's
Office to run dre defendanfs cretiit report. The defendant also agrees that the probation
office may disclose to the Unitecl Slates the net lvorth and cash flow statements to be
completed by the defendant in connection rvi th the preparation of the presentence
report, together with all supporting documents. Finall1,, ths defendant understands, as
setforth in Paragraph 4 above, that the United States' agreement to recommend a
reduction for acceptance of responsibility will be basecl, in part, on the defendanls full
and truthful accounting, and efforts to make the agreed-upon immediate restitution
paynents.

      9. Other than the language set fordr in paragraph 4, the defendant
understands that sentencir-rg discussions are not part of the plea agreement-

         10. If your understanding of our agreement conforms with mine as set out
above, would you and the defendant please sign this letter and return it to me. By his
signature below, the defendant acknowledges his understanding that the United States
has made no promises or guarantees regarding the sentence which will be imposed.
The defendant also acknolvledges his understanding that the Court is not required to
accept any recommendations wllich may be made by the United States and that dre
Court can impose any sentence up to and including the maximum penalties set out
above.

         11.   By your signatures below, you and the defendant also acknowledge that
this is the only plea agreement in this case. Tl-re prior plea agreement filed in this case,
and docketed as #43, is rescinded.

                                                Very kuly yours,

                                                SCOTT C. BLADER
                                                United States Attorney

 3 i5.11
Date
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                                                RITA lvl. RII|vIBELOW
                                                Assistant United States Attomey


                                                       5
KELLY                                           Date
Attomey for dre Defenclant
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LAMONT                 .   RIVERA   Dafe
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                                           r(i   f
Defendant


Enclosure
